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 DOWD, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 United States of America,                        )
                                                  )     CASE NO. 1:04 CR 362
                Plaintiff,                        )
                                                  )
        v.                                        )     MEMORANDUM OPINION
                                                  )
 Tevaughn Darling,                                )
                                                  )
                Defendant.                        )
                                                  )

        The Court has questioned whether the above-named defendant is entitled to

 reconsideration of his sentence by virtue of the recent amendment to the United States

 Sentencing Guidelines reducing the offense level for offenses involving crack cocaine.

        The defendant entered a plea of guilty to count 1 of the indictment which alleged that the

 defendant was involved in the conspiracy relating to both crack cocaine and powder cocaine.

 Hence, the Court’s question as to whether the defendant was entitled to reconsideration of his

 sentence.

        The Court has been advised by counsel that when the defendant entered a plea of guilty

 to count 1, it was after the government had removed, pursuant to the written plea agreement,

 reference to crack cocaine as opposed to powder cocaine.

        Specifically, the transcript of the guilty plea proceedings (see Docket No. 43) recites the

 following discussion at pages 30 and 31 which state:

                THE COURT: Very well. Then I’m ready to ask you for your
                plea at this point, Mr. Darling.

                Do you understand that if at this time you tell me you are guilty of
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                 Count 1, I’ll find you guilty and it will be too late to withdraw
                 your plea of guilty.

                 Do you understand that?

                 THE DEFENDANT: Yes, your Honor.

                 THE COURT: Then, Mr. Darling, how do you plead to the charge
                 in Count 1 in the indictment, Case Number 1:04-CR-362, charging
                 you with conspiracy to possess with intent to distribute, and to
                 distribute, more than 50 grams of a mixture or substance
                 containing a detectable amount of --

                 Is this crack or is this simply?

                 MR. PINJUH: Your Honor, the indictment charges both crack
                 cocaine and cocaine, but the plea agreement specifies just cocaine
                 in the amount in the plea agreement, more than 500 grams but less
                 than 2 kilograms of powder cocaine.

                 THE COURT: Let me say that again.

                 How do you plead to the charge of conspiracy, charging you
                 possessed with intent to distribute and distributed more than 500
                 grams of a mixture or substance containing a detectable amount of
                 cocaine? To that charge how do you plead?

                 THE DEFENDANT: I plead guilty.

                 THE COURT: Very well.

                 Mr. Darling, the court accepts your plea of guilty, finding that you
                 understand the nature of the crime charged; that you understand
                 the sentencing consequences; that there is a factual basis for your
                 plea of guilty; that you have waived the constitutional rights that
                 you enjoy which are applicable at this time in the case. So the
                 court finds you guilty.

        It is apparent that the defendant’s plea of guilty was limited to powder cocaine and not

 crack cocaine. Thus, the defendant is not entitled to reduction of his sentence.



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        The Court requests that the Federal Defender’s Office notify the defendant at his place of

 incarceration with respect to the Court’s ruling.

        IT IS SO ORDERED.


  August 15, 2008                                /s/ David D. Dowd, Jr.
 Date                                          David D. Dowd, Jr.
                                               U.S. District Judge




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